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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

STEPHANIE CLIFFORD a.k.a.                           :
STORMY DANIELS, an individual,                      :   Case No. 2:19-cv-00119
                                                    :
                                                    :   Judge Michael H. Watson
                                                    :
                     Plaintiff,                     :   Magistrate Judge Elizabeth Preston Deavers
                                                    :
     v.                                             :
                                                    :
SHANA M. KECKLEY, et al.,                           :
                                                    :
                                                    :
                          Defendants.               :

                                     NOTICE TO THE COURT

          At the request of Magistrate Judge Deavers, Plaintiff files the following notice of the status

of the pending claims and motions at issue in this matter. This notice has been reviewed and

approved by counsel for all parties.

          1.     Defendant City of Columbus – Plaintiff’s Amended Complaint asserted both

federal and state law claims against the Defendant City of Columbus, Dkt. No. 24. On July 30,

2019, Defendant City of Columbus answered and moved for Partial Summary Judgment on the

Pleadings on Plaintiff’s state law-based claims. Dkt. Nos. 30 and 31. On August 22, 2019,

Plaintiff and the City of Columbus, by stipulated dismissal, dismissed any state law claims against

the City of Columbus rendering the Motion for Partial Summary Judgment on the Pleadings (Dkt.

No. 31) moot. The City of Columbus remains a defendant for municipal liability under the 42

U.S.C § 1983 claims asserted by Plaintiff. There are no motions pending before the Court at this

time on the remaining claims asserted by Plaintiff against the City of Columbus.
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       2.      Defendant Terry L. Moore - Plaintiff’s Amended Complaint asserted both federal

and state law claims against the Defendant Terry L. Moore, Dkt. No. 24. On July 30, 2019,

Defendant Terry L. Moore filed a Motion to Dismiss all claims under FRCP 12(b)(6), Dkt. No. 32.

Plaintiff has responded to Moore’s Motion to Dismiss, Dkt. No. 33. In her response, she has

withdrawn her claim for civil conspiracy and any claim under state law against Moore. Defendant

Moore remains a defendant for supervisory liability under the 42 U.S.C § 1983 claims for false

arrest and malicious prosecution asserted by Plaintiff. Defendant Moore’s Motion based upon a

failure to state a claim and qualified immunity remain at issue before the court.

       3.      Defendants Keckley, Lancaster, Praither and Rosser - The original individual

officer defendants, Shana M. Keckley, Whitney R. Lancaster, Mary S. Praither and Stephen G.

Rosser have all answered the Plaintiff’s Amended Complaint. Dkt. No. 25. Defendants Keckley,

Lancaster, Praither and Rosser do not have any motions pending before the court at this time.

       Plaintiff, filing this notice, prays that it clarifies the status of the dismissed, withdrawn and

pending claims. Should the court have further inquiry, the Plaintiff stands ready to answer the

Court’s inquiries.

                                              Respectfully Submitted,

                                               /s/ Chase A. Mallory____
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                                               AND




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                                           /s/ Guy A. Fortney
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                                           Attorneys for the Plaintiff




                              CERTIFICATE OF SERVICE

       I certify that on August 30, 2019, a true and exact copy of the above and foregoing
   document was served to the following counsel via: � U.S. first-class mail, with postage pre-
   paid, � Certified Mail, Return Receipt Requested, � facsimile, XX e-mail/ECF, � hand
   delivery:


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                                           /s/ Guy A. Fortney




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